            Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 1 of 32




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

MI FAMILIA VOTA, TEXAS STATE
CONFERENCE OF THE NATIONAL
ASSOCIATION FOR THE ADVANCEMENT
OF COLORED PEOPLE, MICAELA
RODRIGUEZ and GUADALUPE TORRES,                 NO. 5:20-cv-00830

                   Plaintiffs

v.

GREG ABBOTT, Governor of Texas; RUTH
HUGHS, Texas Secretary of State,

                   Defendants.



                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




2035363.1
              Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 2 of 32




                                                    TABLE OF CONTENTS

                                                                                                                                         Page

I.          INTRODUCTION ............................................................................................................. 1
II.         BACKGROUND ............................................................................................................... 3
            A.        The COVID-19 Pandemic...................................................................................... 3
            B.        The Impact of COVID-19 On Communities of Color ........................................... 6
            C.        Texas’s Voting System Fails to Protect Voters ..................................................... 8
            D.        Texas Voters Are Worried, and Voter Turnout Is Likely to Be Affected ........... 12
            E.        Texas Has Several Feasible Alternatives That Adequately Protect Voters ......... 13
III.        LEGAL STANDARD...................................................................................................... 15
IV.         ARGUMENT ................................................................................................................... 16
            A.        Plaintiffs Are Likely to Succeed on the Merits .................................................... 16
                      1.         Texas’s Voting System Violates Due Process and the First
                                 Amendment .............................................................................................. 16
                      2.         Texas’s Voting System Violates the Equal Protection Clause ................ 22
            B.        Plaintiffs Are Likely to Suffer Irreparable Harm ................................................. 23
            C.        Protecting Voting Rights Serves the Public Interest and Will Cause No
                      Harm .................................................................................................................... 25
V.          CONCLUSION ................................................................................................................ 25




                                                                      -i-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 3 of 32




                                               TABLE OF AUTHORITIES

                                                                                                                                  Page

Cases
Anderson v. Celebrezze,
  460 U.S. 780 (1983) ...................................................................................................... 16, 17, 22
Arizona Libertarian Party v. Hobbs,
  925 F.3d 1085 (9th Cir. 2019) .................................................................................................. 17
Black v. McGuffage,
  209 F. Supp. 2d 889 (N.D. Ill. 2002) ........................................................................................ 23
Burdick v. Takushi,
  504 U.S. 428 (1992) ...................................................................................................... 16, 21, 22
Bush v. Gore,
  531 U.S. 98 (2000) .............................................................................................................. 22, 23
Citizens for Legislative Choice v. Miller,
  144 F.3d 916 (6th Cir. 1998) .................................................................................................... 17
Common Cause S. Christian Leadership Conference of Greater Los Angeles v. Jones,
  213 F. Supp. 2d 1106 (C.D. Cal. 2001) .................................................................................... 23
Crawford v. Marion Cnty. Elec. Bd,
  553 U.S. 181 (2008) ................................................................................................ 16, 19, 21, 22
De Leon v. Perry,
  975 F. Supp. 2d 632, 663 (W.D. Tex. 2014), aff’d sub nom. De Leon v. Abbott,
  791 F.3d 619 (5th Cir. 2015) .................................................................................................... 23
Deerfield Medical Ctr. V. City of Deerfield Beach,
  661 F.2d 328 (5th Cir. Unit B, 1981).................................................................................. 23, 25
Dunn v. Blumstein,
  405 U.S. 330 (1972) ............................................................................................................ 22, 25
Elrod v. Burns,
  427 U.S. 347 (1976) .................................................................................................................. 23
Fish v. Schwab,
  957 F.3d 1105 (10th Cir. 2020) ................................................................................................ 17
Florida Med. Ass’n, Inc. v. United States Dep’t of Health, Educ. & Welfare,
  601 F.2d 199 (5th Cir. 1979) .................................................................................................... 15
Georgia Coalition of People’s Agenda, Inc. v. Kemp,
  347 F. Supp. 3d 1251 (N.D. Ga. 2018) ..................................................................................... 19
Jackson Women’s Health Org. v. Currier,
  760 F.3d 448 (5th Cir. 2014) .............................................................................................. 15, 25
League of Women Voters of N.C. v. North Carolina,
  769 F.3d 224 (4th Cir. 2014) ............................................................................................. passim
League of Women Voters of Ohio v. Brunner,
  548 F.3d 463 (6th Cir. 2008) .................................................................................................... 23
League of Women Voters v. Va. State Bd. of Elec.,
  No. 6:20-cv-00024, 2020 WL 2158249 (W.D. Va. May 5, 2020) ........................................... 20



                                                                  - ii -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 4 of 32




                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                                  Page

Norman v. Reed,
  502 U.S. 279 (1992) ............................................................................................................ 17, 21
Paher v. Cegavske,
  No. 3:20-cv-00243-MMD-WGC, 2020 WL 2089813 (D. Nev. Apr. 30, 2020) ...................... 21
Republican Party of Arkansas v. Faulkner Cnty., Ark.,
  49 F.3d 1289 (8th Cir. 1995) .................................................................................................... 21
Rush v. Nat’l Bd. of Med. Examiners,
  268 F. Supp. 2d 673 (N.D. Tex. 2003) ..................................................................................... 25
Texas Indep. Party v. Kirk,
  84 F. 3d 178 (5th Cir. 1996) ..................................................................................................... 16
Thomas v. Andino,
  No. 3:20-cv-01552-JMC, 2020 WL 2617329 (D.S.C. May 25, 2020) ............................... 19, 20
Whole Woman’s Health v. Hellerstedt,
  231 F. Supp. 3d 218 (W.D. Tex. 2017) .................................................................................... 25
Statutes
Tex. Elec. Code § 41.001 ................................................................................................................ 9
Tex. Elec. Code § 43.007 ................................................................................................................ 1
Tex. Elec. Code § 43.007 .............................................................................................................. 10
Tex. Elec. Code § 43.007(f) ............................................................................................................ 9
Tex. Elec. Code § 63.001(c) ......................................................................................................... 10
Tex. Elec. Code § 64.009 .............................................................................................................. 10
Tex. Elec. Code § 85.001 et seq...................................................................................................... 9
Tex. Elec. Code § 85.006 ................................................................................................................ 9
Tex. Elec. Code §§ 82.001-82.004 ............................................................................................... 19
Tex. Elec. Code §§ 85.062-63 ........................................................................................................ 9
Tex. Elec. Code §§ 85.062-63 ........................................................................................................ 1
Regulations
Executive Order GA 29, Relating to the Use of Face Coverings During the COVID-
  19 Disaster (July 2, 2020) ......................................................................................... 8, 11, 13, 18




                                                                 - iii -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 5 of 32



I.          INTRODUCTION

            In November, millions of voters across Texas will head to the polls in the middle of a

pandemic that has upended the lives of almost every American. Due to unsafe election

procedures in Texas, voting in person will pose a substantial risk to the lives and health of voters.

This is an unconstitutional burden to place upon voters, one that undermines the right to vote and

the freedom and fairness of Texas elections. Moreover, it is a risk and burden disproportionately

carried by Black, Indigenous, and Latino voters1—who are at greater risk of experiencing serious

illness or death if they contract the virus, whose communities are being disproportionately

ravaged by the disease, and who have less access to safe, secure opportunities to vote.

            Plaintiffs are entitled to vote in person without unnecessary risk to their lives and health.

Defendants have authority and ability to implement safe, uniform voting procedures across the

state. Instead, Defendants have adopted a Pandemic Voting System2 that will place millions of

voters at risk, deferring to a patchwork of county-by-county election practices that will protect

1
  Texas’s inadequate Pandemic Voting System also has outsized effects on other communities of
color, including Asian American and Pacific Islanders.
2
  Plaintiffs adopt the phrase “Pandemic Voting System” for ease of reference. This encompasses
Texas election law and processes as applied to in-person voting during COVID-19, including: (1)
Authorizing counties to open only half the legally required polling places under the countywide
polling place program, Tex. Elec. Code § 43.007(f); (2) prohibiting the use of paper ballots in
counties in the countywide polling place program, Tex. Elec. Code § 43.007; (3) limiting the
early voting period and prohibiting mobile early voting sites, Tex. Elec. Code §§ 85.062-63; (4)
a voter identification law that requires voters to obtain identification and allow poll workers to
physically handle the identification, Tex. Elec. Code § 63.001(c); and (5) a law limiting curbside
voting to individuals who cannot physically enter polling locations, Tex. Elec. Code § 64.009.
New election-related policies during the pandemic include: (1) A face covering mandate that
specifically exempts people at polling places, Executive Order GA-29; (2) an order that expands
the early voting period but does not extend hours or offer mobile voting options, Governor’s July
27, 2020 Proclamation; (3) Election advisories that recommend but do not require social
distancing and other safety measures at the polls, see Election Advisory No. 2020-14; and (4)
Election advisories that affirm that no changes have been made to existing election laws, even
where such laws might lead to unsafe conditions for voters during the pandemic, see Election
Advisory No. 2020-14 (advising counties to seek a court order to authorize exceptions to the
voting procedures as necessary to address COVID-19).



                                                     -1-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 6 of 32




some voters and leave millions of others with no safe way to vote—eroding public confidence in

the safety of elections. These practices unconstitutionally burden Plaintiffs’ rights under the First

Amendment and under the Due Process and Equal Protection Clauses of the Fourteenth

Amendment.3 Defendants’ refusal to implement reasonable in-person voting procedures will

place an unconstitutional burden upon vulnerable Texans, forcing many of them to stay during

the general election in Fall 2020 (early vote through Election Day), forfeiting their fundamental

right to vote in order to ensure that they, their families, and their communities survive the

pandemic. The Constitution does not allow Texas to require voters to make that choice.

            There are many feasible changes that Texas can make to protect both public health and

the right to vote. These include implementing basic safety measures recommended by experts

(and Defendants) at polling sites, including social distancing, use of face coverings, and

sanitation procedures; making paper ballots widely available at all polling places4; employing

sufficient poll workers, and providing those workers with personal protective equipment, to

ensure voter and poll worker safety and to keep lines moving efficiently5; opening additional poll

sites, including the use of mobile voting units6; and providing additional funding necessary to

ensure that counties have the support and equipment necessary to implement necessary

protective measures.7 There is no legitimate reason for Texas’s decision to adopt a Pandemic

Voting System the does not include such measures.




3
  Although Plaintiffs’ complaint also alleges violations of the Equal Protection Clause, Fifteenth
Amendment, and Section 2 of the Voting Rights Act based on race or ethnicity, Compl. ¶¶ 202-
07, those claims do not form the basis of this motion.
4
  See Martin Decl. ¶¶ 52-70; Atkeson Decl. ¶¶ 8-18.
5
  Martin Decl. ¶¶ 93-94.
6
  Martin Decl. ¶¶ 95-96.
7
  Martin Decl. ¶¶ 97-98



                                                  -2-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 7 of 32




            With no uniformity, no required precautions, and no resources to obtain necessary safety

and hygiene equipment, Texas voters will have to decide whether to head to the polls in

November when doing so could pose a serious risk to their health and their lives. At bottom,

Texas’s Pandemic Voting System consists of the State acknowledging the risks of the pandemic,

identifying best practices necessary to keep voters safe—and then implementing none of them,

instead kicking the can to the various counties in the hopes that they will comply. This “do as I

say, not as I do” approach unnecessarily, and improperly, places voters’ lives at stake, and forces

them to choose between their wellbeing and the franchise. The Constitution requires more.

            Because Plaintiffs are likely to demonstrate that Texas’s current voting system is

unlawful, because loss of the opportunity to vote would cause irreparable harm, and because the

public interest and balance of equities unquestionably weigh in favor of a free and fair election,

Plaintiffs respectfully request that the Court grant this request for a preliminary injunction to

ensure measures necessary to protect the right to vote.

II.         BACKGROUND

            A.     The COVID-19 Pandemic

            COVID-19 is highly contagious and dangerous. Plaintiffs’ expert Dr. Catherine Troisi,

describes the epidemiology of this virus in her Declaration, submitted herewith. See Troisi

Decl.8As Dr. Troisi explains, Coronavirus Disease 2019 (COVID-19) is caused by a highly

contagious novel coronavirus, named SARS-CoV-2. Id., ¶ 10. The disease is spreading rapidly

throughout the United States: since the first case was reported in the United States in January,

8
 Dr. Troisi is an infectious disease epidemiologist and public health expert, as well as an
Associate Professor in the Department of Management, Policy, and Community Health and
Department of Epidemiology, Human Genetics, and Environmental Sciences and Center for
Infectious Diseases at the University of Texas Health Science Center at Houston, School of
Public Health and an Adjunct Associate Professor at Baylor College of Medicine. Troisi Decl.
¶ 1.



                                                   -3-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 8 of 32




over 5.7 million Americans have been infected, and more than 176,000 have died. CDC, “Cases

in the U.S.”, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last

accessed Aug. 25, 2020).9 In Texas alone, there have been more than 586,000 confirmed cases

and over 11,000 confirmed fatalities. Texas Dep’t of State Health Services, “DSHS COVID-19

Dashboard,” https://bit.ly/2Y5wuxG (last accessed Aug. 25, 2020). Like many parts of the

United States, Texas has experienced a surge of cases over the summer that is expected to

continue or worsen during the election season. Troisi Decl. ¶¶ 2, 21. After a peak of new cases

and hospitalizations in July, Texas averaged more than 200 COVID-19 deaths per day in August.

Texas Reports Less Than 5,000 People Hospitalized With COVID-19 for the First Time Since

June, Texas Tribune (updated Aug. 25, 2020), https://apps.texastribune.org/features/2020/texas-

coronavirus-cases-map/. As of August 25, 2020, Texas has reported more than 37,000 confirmed

cases in the last seven days and has the second highest number of cases in the past week in the

nation. CDC Data Tracker, https://www.cdc.gov/covid-data-tracker/#cases. Moreover, Texas

continues to see high rates of positivity on COVID-19 tests, further indicating that the virus is

not under control. Texas Reports Less Than 5,000 People Hospitalized With COVID-19 for the

First Time Since June, Texas Tribune (updated Aug. 25, 2020),

https://apps.texastribune.org/features/2020/texas-coronavirus-cases-map/ (citing positivity rate of

15.4% as of August 25 and quoting Defendant Abbott stating rate over 10% is a “warning flag”).

            The virus does not affect everyone equally. While some people might experience mild

symptoms or none at all, others experience damage to the lungs, heart, kidneys, and intestines.

Troisi Decl. ¶ 11. Many people require hospitalization or experience long-term complications.

For others, the disease is fatal. Troisi Decl. ¶ 11. Risk for serious COVID-19 illness is higher for

9
 All of the cited documents with website addresses are attached as exhibits to the Declaration of
Kelly M. Dermody.



                                                 -4-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 9 of 32




some individuals, including people over the age of 65, people experiencing homelessness, people

living in nursing homes and long-term care facilities, and people with certain underlying medical

conditions including cancer, chronic kidney disease, chronic obstructive pulmonary disease,

obesity, serious heart conditions, sickle cell disease, and Type 2 diabetes, as well as those who

are immunocompromised. Id., ¶ 12; CDC, “People Who Are At Higher Risk for Severe Illness,”

https://bit.ly/3hip2r4; CDC, “People Experiencing Homelessness,” https://bit.ly/3f93L18.The

Centers for Disease Prevention and Control (“CDC”) also recognizes that many other underlying

medical conditions, including asthma, liver disease, pregnancy, and smoking, may also increase

the risk of experiencing a serious COVID-19 illness. CDC, “People Who Are At Higher Risk for

Severe Illness,” https://bit.ly/3hip2r4.

            The virus spreads in two ways: through the air; and through contaminated surfaces. Troisi

Decl. ¶ 10. Respiratory transmission typically occurs via droplets containing the virus, but in

certain conditions, the virus may transmit via aerosol spread. Because aerosols can linger in the

air for longer than droplets, aerosol spread can increase the transmissibility of the virus. Id.

Anyone infected with the virus—regardless of whether they are experiencing symptoms—can

transmit the virus for fourteen days after infection. Troisi Decl. ¶ 14. As CDC has explained, “the

more an individual interacts with others, and the longer that interaction, the higher the risk of

COVID-19 spread.” Troisi Decl. ¶ 20. Because the main route of transmission is through the air,

indoor spaces, close contact, crowding, and the duration of contact between individuals are all

factors that increase risk of virus transmission. Troisi Decl. ¶ 32.

            The virus also can be transmitted when individuals touch a surface contaminated with the

virus, which can survive for hours to days on some surfaces. Troisi Decl. ¶ 31. As a result,




                                                  -5-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 10 of 32




election practices that require multiple individuals to touch the same voting machines can

contribute to virus transmission. Troisi Decl. ¶ 31.

            B.     The Impact of COVID-19 On Communities of Color

            Communities of color, and particularly Black, Indigenous, and Latino communities have

been disproportionately affected by the pandemic, and are likely to experience serious COVID-

19 illnesses at a disproportionate rate when compared to white COVID-19 patients. See Troisi

Decl. ¶ 13. Across the United States, Black, Latino, and Indigenous people are far more likely to

be infected with COVID-19, and once infected more likely to die of the disease, than white

people. See Richard Oppel Jr. et al, “The Fullest Look Yet at the Racial Inequality of

Coronavirus,” N.Y. Times, July 5, 2020, https://nyti.ms/2EbN9sI.

            In Texas, data is available on only a limited number of cases. But of the 46,000

completed case investigations conducted by the Department of State Health Services—out of

more than 560,000 confirmed cases—Black and Latino Texans are disproportionately

represented in terms of confirmed cases and fatalities. See DSHS COVID-19 Dashboard,

https://bit.ly/2Y5wuxG (last accessed Aug. 20, 2020). There are also serious disparities in access

to testing in health care. Testing sites are disproportionately located in predominantly white

neighborhoods, while predominantly Black and Latino neighborhoods lack sufficient testing

sites, even where known outbreaks are occurring. See Stephanie Adeline, In Large Texas Cities,

Access To Coronavirus Testing May Depend On Where You Live, NPR, May 27, 2020, available

at https://n.pr/3ggSqfs; Soo Rin Kim, “Which Cities Have the Biggest Racial Gaps in COVID-19

Testing Access?” FiveThirtyEight, July 22, 2020, available at https://53eig.ht/3j1USs5.

            “Inequalities in the social determinants of health, such as poverty and healthcare access,

affecting these groups are interrelated and influence a wide range of health and quality-of-life

outcomes and risks.” CDC, “Health Equity Considerations and Racial and Ethnic Minority


                                                    -6-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 11 of 32




Groups,” July 24, 2020, https://bit.ly/2EjWE94. Black and Latino workers are more likely to

work in essential jobs for low wages and have less access to affordable healthcare. See Sherita

Hill Golden, “Coronavirus in African Americans and Other People of Color,” John Hopkins

Medicine, Apr. 20, 2020, https://bit.ly/32ix50u. Black and Latino people are also

disproportionately likely to live in poverty in Texas. See U.S. Census, American Community

Survey, Poverty Status in the Past 12 Months, available at https://bit.ly/2QdB8oY. These

socioeconomic inequalities have not only placed Black and Latino people at increased risk of

serious COVID-19 illness if they get the disease, but have also made them even more

economically vulnerable than other groups. See, e.g., Torres Aff. ¶¶ 12-13. These factors inform

how voters assess whether they can risk going to vote during the pandemic.

            The pandemic is also having a disparate impact on counties in Texas, as several counties

and urban areas are bearing the brunt of Texas’s COVID-19 pandemic. There is substantial

overlap between the counties hit hardest, and counties with the highest rates of poverty and

inequality. Harris County and Dallas County have the highest total number of cases and the

highest number of active cases. There have been major outbreaks around Dallas, Houston,

Austin, and San Antonio. Texas Dep’t of State Health Services, “DSHS COVID-19 Dashboard,”

https://bit.ly/2Y5wuxG (last accessed Aug. 17, 2020). And Cameron County—whose population

is 89% Latino, with nearly 1/3 of its population living below the poverty line—accounts for

nearly 5% of all confirmed COVID-19 fatalities in the state, despite having just 1.5% of the

state’s population. See Emma Platoff & Carla Astudillo, “Across Texas and the Nation, the

Novel Coronavirus is Deadlier for People of Color,” Texas Tribune, July 30, 2020, available at




                                                  -7-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 12 of 32




https://bit.ly/32foWtB. In cities and counties with high rates of virus transmission, voters face

greater risk of infection from community spread.10

            C.     Texas’s Voting System Fails to Protect Voters

            Texas’s Voting System, as applied during the pandemic, provides voters with virtually no

protections or assurances of safety at polling places. Texas has not imposed any restrictions or

limitations to allow for safe social distance at polling places and on lines, nor for cleaning or

sanitizing polling places. Texas (through Defendant Abbott) has issued a statewide mask

mandate, but specifically exempted voters, poll workers, and poll watchers. See Executive Order

GA 29 (July 2, 2020) ¶ 8. Texas’s Pandemic Voting System neither requires voters or poll

workers to wear masks, or to engage in other hygiene and safety practices, nor does it take any

effort to make masks or basic sanitation supplies readily available to voters and poll workers. In

this way, Defendants’ Pandemic Voting System takes no precautions for Texas voters, and

instead subjects them to an unacceptably high level of risk at the ballot box.

            For millions of Texans, voting in person is their only means, their preferred means, or

their only reliable means of voting. Defendants have refused to make voting by mail widely

available, accessible, or reliable. And recent controversy regarding the U.S. Postal Service has

resulted in voters being uncertain that their mail-in ballots will be counted. See Adam Clark

Estes, “What’s Wrong With the Mail,” Vox, Aug. 18, 2020, https://bit.ly/3gkDOf4. During the

pandemic, election policies directly affect whether voting is safe. Policies that result in long lines




10
  In Texas, the probability that one out of a group of 25 people has COVID-19 varies by county,
but is concerning in counties across the State, with Harris County at 44%, Dallas at 80%,
Cameron at 89%, and Bee and Karnes at 99%. Chande, A.T., Gussler, W., Harris, M., Lee, S.,
Rishishwar, L., Hilley, T., Jordan, I.K., Andris, C.M., and Weitz, J.S., Interactive COVID-19
Event Risk Assessment Planning Tool, http://covid19risk.biosci.gatech.edu/.



                                                   -8-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 13 of 32




of voters, hours of waiting, and the requirements that voters repeatedly touch voting machines

create the precise conditions that allow for virus transmission. See Troisi Decl. ¶ 10.

            Remarkably, the Court need not rely solely on Plaintiffs’ experts to determine that the

State’s Pandemic Voting System is not up to par—it can look to Defendants’ election officials’

own words. For example, on June 18, the State issued Election Advisory No. 2020-19, in which

it identified recommended practices based on CDC guidance for counties to follow in

establishing and administering polling locations—but did not actually require the implementation

of any of those recommendations, nor has the State provided counties with necessary resources

to actually follow the recommendations.

            Texas laws and policies govern in-person voting across the state. The duration, hours, and

locations of in-person early and Election Day voting are determined by state law. See Tex. Elec.

Code §§ 41.001, 85.001 et seq. Counties are required only to open early voting locations during

business hours and for limited hours over the last weekend of the early voting period in large

counties or where requested by voters, though counties may choose to open on more weekend

days during the early voting period. Tex. Elec. Code § 85.006. Counties are now prohibited from

offering mobile or temporary early voting sites. Tex. Elec. Code §§ 85.062-63.

            For Election Day voting, Texas maintains a Countywide Polling Place Program

(“CPPP”). Although Texas law requires that counties maintain a polling place in each precinct,

an exception is made for counties participating in the CPPP; such counties are only required to

open half as many polling locations. Tex. Elec. Code § 43.007(f). In part due to CPPP, since

2012, Texas has shuttered 750 polling place locations, including 542 in the 50 counties with the

greatest increases in Black and Latino residents and which have experienced a combined

population rise of more than 2.5 million people. Leadership Conference Education Fund,




                                                   -9-
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 14 of 32




Democracy Diverted: Polling Place Closures and the Right to Vote, pp. 24-28 (Sept. 2019),

https://bit.ly/3chYUsQ. Richard Salame, “Texas Closes Hundreds of Polling Sites, Making It

Harder for Minorities to Vote,” The Guardian (Mar. 2, 2020), http://bit.ly/2w7GawU.

            Counties participating in CPPP must use electronic voting machines and are not allowed

to offer paper ballots to voters. Tex. Elec. Code § 43.007. The voting machines will require

frequent disinfection, but the manufacturers’ guidance indicates that cleaning the machines

carries the risk of machine malfunction, can be done only with special cleansers and instructions,

and does not guarantee that the recommended cleaning are capable of killing COVID-19.11

            Texas has set other statewide standards governing in-person voting. For example, all in-

person voters are subject to Texas’s voter identification law, which requires voters to provide

identification to poll workers for inspection. Tex. Elec. Code § 63.001(c). Texas also makes

provisions for voters with disabilities. This includes a curbside voting practice, but only for

voters who are “physically unable to enter the polling place without personal assistance or

likelihood of injuring the voter’s health.” Tex. Elec. Code § 64.009.

            Texas has not taken appropriate steps to reduce the serious risk of virus transmission that

in-person voting poses. Governor Abbott has extended early voting by six days (four business

days), see Proclamation by the Governor, July 27, 2020, available at https://bit.ly/2QbOgLn, but

the extension is limited, does not provide for mobile early voting or extended hours, and does not

provide resources to support counties. And although Governor Abbott has mandated masks in

most public spaces, he has exempted “any person who is voting, assisting a voter, serving as a



11
   See Dominion Voting, “Customer Notification: COVID-19 (“Coronavirus”) Information,”
https://bit.ly/2VhvVPj; ES&S, “Best Practices – Voting System,” at 1-2, available at
https://bit.ly/2JRLYOs; Hart InterCivic, “Hart Equipment Cleaning Recommendations,”
https://bit.ly/2RmAqH0.



                                                   - 10 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 15 of 32




poll watcher, or actively administering an election.” Executive Order GA 29, Relating to the Use

of Face Coverings During the COVID-19 Disaster (July 2, 2020).

            Texas has not otherwise established uniform or sufficient guidelines to protect voters

during the pandemic. In the Director of Elections’ April 6, 2020 Advisory and June 18, 2020

Advisory, counties are encouraged—but not required—to establish social distancing, provide

personal protective equipment to poll workers, or disinfect voting machines. See Election

Advisory No. 2020-14, https://www.sos.texas.gov/elections/laws/advisory2020-14.shtml;

Election Advisory No. 2020-19, https://www.sos.state.tx.us/elections/laws/advisory2020-

19.shtml. Nor have Defendants offered resources to help local officials comply with their

recommendations. The April 6, 2020 Advisory warns that voters who wish to vote curbside

“must be qualified by the election officer before the voter can receive the ballot [and] [p]oll

watchers and inspectors must be allowed to accompany the election officer”—none of whom are

required to wear masks. Id. The June 18, 2020 Advisory further provides poll workers with

authority to require voters to lower or remove their face coverings for purpose of voter

identification. Id.

            Defendants’ Pandemic Voting System does not account for poll worker shortages or

provide for their safety, which resulted in polling place closures during the July run-off elections.

Alexa Ura, “Two Major Texas Counties are Trimming Polling Locations as Workers Pull Out

Over Coronavirus,” Texas Tribune, July 9, 2020, https://bit.ly/2QaBMU7. Poll worker shortages

and closed polling locations will create longer lines and delays at the remaining polling places.

            Defendants’ policies will place all voters at unnecessary risk of infection. But because

Defendants allow counties to control some elements of the pandemic response, a voter’s ability

to vote safely in person will depend substantially on their county of residency. Counties with




                                                   - 11 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 16 of 32




paper ballots, extended early voting hours, and a sufficient number of polling booths and polling

locations will avoid crowds, move voters through quickly, and limit how many voters are

touching the same surfaces. Counties that do not mitigate these risks will create in-person voting

conditions that facilitate virus transmission.

            D.     Texas Voters Are Worried, and Voter Turnout Is Likely to Be Affected

            Texas’s failure to adopt sufficient safety measures will result in a severe burden on the

right to vote, including causing voters to stay home because they feel unsafe voting in person

under the current conditions of Defendants’ Pandemic Voting System. Dr. Robert Stein has

analyzed Harris County voters’ concerns during the pandemic.12 Dr. Stein’s research confirms

Plaintiffs’ claims—it shows that voters are seriously concerned about the risks to their health and

safety posed by voting during a global pandemic—especially in Texas, which has experienced

such a high rate of cases. Stein Decl. 2.

            Dr. Stein’s research demonstrates that Texas voters who would ordinarily cast their votes

in person are concerned about contracting and spreading COVID-19 while voting. Stein Decl. 2.

Dr. Stein found that the modal reason voters gave for not voting in the July 2020 primary runoff

election was concern about the possibility of contracting COVID-19 in person (27.6%). Id. at 5.

These fears are dramatically greater for Black and Latino voters. Id. at 8-10.

            Voters also identify a number of concerns and related protective measures that are

important to them and will determine whether they feel safe enough to visit their polling place.

Stein Decl. 7-8. More than half of voters surveyed stated that the availability of a maximum

social distancing floor plan in their polling place would have a “substantial impact” on their


12
  Dr. Stein is the Faculty Director for the Center for Civic Leadership, the Lena Gohlman Fox
Professor of Political Science, and a researcher at Rice University, where his work focuses on
voter behavior as well as emergency-preparedness and election administration. See Stein Decl. 2.



                                                   - 12 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 17 of 32




decision to vote in person in the November election. Id. Additionally, 58.3% of voters stated that

availability of PPE for poll workers would have a substantial impact on their decision; 51.1%

said the same for availability of hand sanitizer; and 55.1% said the same for the availability of

masks for voters. Id. Dr. Stein also found that Black, Latino, Asian-American, and other voters

of color rated the importance of each of the mitigation factors considerably higher than their

white counterparts. Stein Decl. 8-10. Dr. Stein’s research shows that voters are genuinely

concerned about the risk to their health associated with in-person voting during a pandemic, and

absent reasonable, basic protections from Defendants, voters may feel they have no choice but to

stay home. Because of its size and demographics, Dr. Stein contends that the results in Harris

County are reflective of Texas voters more generally. Id. at 2.

            E.     Texas Has Several Feasible Alternatives That Adequately Protect Voters

            Defendants readily have the ability to implement simple, feasible solutions in this

moment of national crisis. See generally Troisi Decl., Atkesson Decl, Martin Decl. This include:

            Use of Face Coverings: Public health officials unanimously agree that wearing masks

reduces the risk of spreading the virus. Texas’s Pandemic Voting System has no mask-wearing

requirement, nor does it provide masks for voters or poll workers. Defendant Abbott’s executive

order imposing a mask requirement specifically exempts voters and poll workers from

compliance. See Executive Order GA 29 (July 2, 2020) ¶ 8. Defendants must require all voters,

poll workers, individuals who are assisting voters, and other election officials to wear masks, and

provide counties with the resources necessary to provide masks to anyone who require one.

            Paper Ballots: Texas’s Pandemic Voting System does not implement requirements or

standards regarding the use of paper ballots at polling places, which means that many voters will

still vote using an electronic touch-screen machine that will be handled by many voters in a day

and could serve as a vector for virus transmission. Texas can, and should, make paper ballots


                                                   - 13 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 18 of 32




available at all polling locations, which will (1) limit the people who must touch the surface of

each voting machine; (2) allow more people to vote simultaneously; (3) prevent lines caused by

machine malfunctions and machine downtime during disinfection; (4) provide poll workers with

more time to disinfect the machines for voters who need or prefer to vote that way; and (5) be

easier for new poll workers to understand. See Martin Decl. ¶¶ 52-70; Atkeson Decl. ¶¶ 8-18.

            Sufficient Voting Booths and Polling Locations: Long lines and crowds create high risk

of virus transmission, yet Defendants’ Pandemic Voting System does nothing to limit lines or

minimize wait time to reduce the risk of transmission among voters who are waiting to cast their

ballot. Defendants must set standards to ensure there are enough voting booths and polling

locations to minimize the risk of virus transmission in voting lines.

            Poll Worker Staffing and Safety: Polling locations cannot open without proper staffing,

yet Texas’s Pandemic Voting System sets no standards for staffing polling places, as well as for

recruiting, training, and providing protection to poll workers. In the absence of safe working

conditions for poll workers, it is inevitable that some poll workers will elect not to work their

shifts, causing further delays, crowding, and/or closures of polling locations.

            Early Voting: Early voting reduces the risk of overcrowding and virus transmission by

spreading out the number of voters at any particular location over a longer period of time. Texas

has implemented an early voting period from October 13-20, but this narrow period is

insufficient unless Texas also takes additional measures Plaintiffs have identified to ensure it

does not simply run into the same issues as regular voting at an earlier point in time. See, e.g.,

Martin Decl. ¶ 62 (describing how to implement use of paper ballots during early voting).

            Curbside Voting: Curbside voting also protects the safety of voters by reducing

opportunities for virus transmission, yet Texas’s Pandemic Voting System makes curbside voting




                                                  - 14 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 19 of 32




only available on a limited basis. Texas can, and should, make curbside voting available to any

voter who requests it, without requiring election officials to assess whether the voter qualifies.

            Natural Disaster Exception for Voter ID: While Texas has implemented voter

identification laws, those laws provide a natural disaster exception that allows a voter who

forgets her ID to sign an affidavit at the polling location, rather than appearing in a public office

to complete the affidavit following the election—an additional interaction that poses additional

risk of exposure during a pandemic. See Tex. Elec. Code § 65.054. Texas’s Pandemic Voting

System has not invoked this exception here. Additionally, Texas must also clarify that poll

workers must examine a voter’s identification without handling it, and must not require voters to

remove their masks—a practice that endangers both voter and the poll worker.

III.        LEGAL STANDARD

            The Court should issue a preliminary injunction if Plaintiffs establish “(1) a substantial

likelihood of success on the merits, (2) a substantial threat …[of] irreparable injury if the

injunction is denied, (3) that the threatened injury outweighs any damage that the injunction

might cause the defendant, and (4) that the injunction will not disserve the public interest.”

Jackson Women’s Health Org. v. Currier, 760 F.3d 448, 452 (5th Cir. 2014) (citation and

internal quotation omitted). None of these elements is controlling. Florida Med. Ass’n, Inc. v.

United States Dep’t of Health, Educ. & Welfare, 601 F.2d 199, 203 n.2 (5th Cir. 1979). Rather,

the court must consider the elements jointly on a “sliding scale . . . balancing the hardships

associated with the issuance or denial of a preliminary injunction with the degree of likelihood of

success on the merits.” Id.




                                                   - 15 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 20 of 32



IV.         ARGUMENT

            A.     Plaintiffs Are Likely to Succeed on the Merits

                   1.     Texas’s Voting System Violates Due Process and the First
                          Amendment

            Plaintiffs are likely to succeed in demonstrating that, as applied during the COVID-19

pandemic, the State’s Pandemic Voting System, which includes limited polling locations, lack of

guaranteed and widely-available paper ballots, restrictions on early voting, failure to hire

sufficient poll workers and to appropriately outfit them with personal protective equipment, and

does not include requirements for social distancing, mask wearing, sanitization, or other

recommended basic safety procedures, together and individually burdens voters’ First and

Fourteenth Amendment rights in violation of the Constitution.

            Courts considering whether a voting scheme infringes on voters’ Due Process and First

Amendment rights “must ‘weigh the character and magnitude of the asserted injury’ … against

‘the precise interests put forward by the State as justifications for the burden imposed by [the

scheme].’” Burdick v. Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460

U.S. 780, 789 (1983)); see also Texas Indep. Party v. Kirk, 84 F. 3d 178, 182 (5th Cir. 1996)

(applying the Burdick-Anderson standard). This “flexible” standard operates as a sliding scale,

requiring a court to calibrate its level of inquiry relative to the level of burden imposed by a

restriction on the franchise. Kirk, 84 F.3d at 182. Where a restriction on the right to vote does not

rise to the level of being “severe,” the court must still evaluate whether the State’s interest in

imposing the restriction sufficiently justifies the burden placed on voters. See, e.g., Crawford v.

Marion Cnty. Elec. Bd, 553 U.S. 181, 191 (2008) (“However slight that burden may appear … it

must be justified by relevant and legitimate state interests sufficiently weighty to justify the

limitation”) (internal quotation marks and citation omitted); Burdick, 504 U.S. at 434 (“when a




                                                  - 16 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 21 of 32




state election law provision imposes only ‘reasonable, nondiscriminatory restrictions[,] … the

State’s important regulatory interests are generally sufficient to justify’ the restrictions.”)

(quoting, first, Norman v. Reed, 502 U.S. 279, 289 (1992) and, second, Anderson, 460 U.S. at

788); Fish v. Schwab, 957 F.3d 1105, 1124 (10th Cir. 2020) (“[T]he scrutiny we apply will wax

and wane with the severity of the burden imposed on the right to vote in any given case; heavier

burdens will require closer scrutiny, lighter burdens will be approved more easily.”); Arizona

Libertarian Party v. Hobbs, 925 F.3d 1085, 1090 (9th Cir. 2019) (“We have described this

approach as a ‘sliding scale’—the more severe the burden imposed, the more exacting our

scrutiny; the less severe, the more relaxed our scrutiny.”).

            When the burden imposed by a voting restriction is severe, however, the State must

demonstrate that the restriction is “narrowly drawn to advance a state interest of compelling

importance.” Courts have determined that a voting regulation imposes a severe burden when it

“discriminates based on content instead of neutral factors” or if “voters have few alternate means

of access to the ballot.” Citizens for Legislative Choice v. Miller, 144 F.3d 916, 921 (6th Cir.

1998). The burdens at issue in this case are severe and limit Texans’ access to the ballot. In light

of the COVID-19 pandemic, the State’s Pandemic Voting System cannot withstand this scrutiny.


                          a.      Texas’s Election Policies Severely Burden Voters’ Rights

            Texas’s System severely burdens voters’ rights because the policies and procedures, as

they currently stand, will impede Texans from voting in-person without seriously risking their

own health. See League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 244 (4th Cir.

2014) (“even one disenfranchised voter—let alone several thousand—is too many”).




                                                  - 17 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 22 of 32




            The State of Texas is experiencing one of the most extreme COVID-19-infection rates of

any state in the country.13 As of this writing, the state has reported 586,730 cases and 11,395

deaths. 14 Troublingly, these numbers have nearly doubled in the days since Plaintiffs filed their

Complaint in this Action. See Compl. ¶ 4. Evidence shows that communities of color are

especially concerned about voting in person in a pandemic, particularly with limited safety

measures. See Stein Decl. 8-9. Medical experts and epidemiologists recommend Texans practice

safety and preventative measures, including social distancing, the use of face masks in public,

and avoiding non-essential public outings, congregating in large groups, standing in close

proximity to others, and handling objects touched by others without proper disinfection

measures. Defendants have advised Texans to take measures to protect themselves and their

communities, and to slow the spread of the virus. See, e.g., Texas Dep’t Health and Human

Services, “Coronavirus Disease 2019 (Covid 19): What To Do If You Are Sick,”

https://bit.ly/2B1n39S (recommending that people with COVID-19 call their doctors and stay

home, and follow CDC recommendations); Executive Order GA 29, Relating to the Use of Face

Coverings During the COVID-19 Disaster (July 2, 2020).

            In the face of these warnings and recommendations, however, Defendants have not

adopted feasible mitigations to limit the risks of exposure for in-person voting. Because Texas

does not provide paper ballots to all voters, some voters will be forced to vote using a machine

shared with hundreds of other people, including people likely to be infected with COVID-19.

Additionally, some voters who would otherwise be eligible to vote by mail in Texas will now
13
   Texas Department of State Health Services COVID-19 Dashboard,
https://txdshs.maps.arcgis.com/apps/opsdashboard/index.html#/ed483ecd702b4298ab01e8b9cafc
8b83 (last visited August 25, 2020); Centers for Disease Control, COVID Data Tracker,
https://www.cdc.gov/covid-data-tracker/#cases (last visited August 25, 2020) (showing Texas
with third highest infection rate in the nation with over 580,000 total cases); footnote 9, supra.
14
   Id.



                                                 - 18 -
2035363.1
            Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 23 of 32




vote in person—thus further crowding Texas’s already overburdened polling places—as a result

of recent concerns that have emerged regarding the reliability the Postal Service. See Adam

Clark Estes, “What’s Wrong With the Mail,” Vox, Aug. 18, 2020, https://bit.ly/3gkDOf4. And,

because Texas has not provided sufficiently expansive early voting, an adequate number of

polling places, a sufficient amount of poll workers, and/or more options for curbside voting,

voters are likely to face longer lines and larger crowds on Election Day, meaning they will spend

more time at direct risk of exposure.

            These circumstances are “beyond the merely inconvenient.” Crawford, 553 U.S. at 205

(Scalia, J., concurring); see also Georgia Coalition of People’s Agenda, Inc. v. Kemp, 347 F.

Supp. 3d 1251, 1264 (N.D. Ga. 2018) (finding severe requirements that voter make multiple trips

to polls, conduct his own research, and track down specific information to be “not a nominal

effort” and “beyond … inconvenient”). The hazards presented by the conditions in Texas are far

beyond the administrative hurdles identified in Kemp. Rather, they threaten voters’ lives, and

will inevitably lead some, or many, voters to stay home for fear of contracting or spreading

COVID-19. Stein Decl. 2. And, unlike in Crawford, for most Texans, the State has refused to

provide an alternative means of voting to its standard in-person option.15 Thus, thousands of

voters who do not want to risk their own lives and health by voting on an electronic voting

machine inside their (likely over-crowded) polling place on Election Day will be left without an

available means of casting a ballot. See Thomas v. Andino, No. 3:20-cv-01552-JMC, 2020 WL

2617329, at *17 n.20 (D.S.C. May 25, 2020) (recognizing, in a COVID-19-specific challenge,

that such a choice is “illusory” and “untenable” and preliminarily enjoining South Carolina
15
   Texas allows voters to vote by mail-in ballot only in four instances: (1) if they will be absent
from the county on Election Day and during the times for in-person early voting; (2) if they
suffer from a disability; (3) if they are 65 years of age or older; or (4) if they are confined in jail.
Tex. Elec. Code §§ 82.001-82.004.



                                                 - 19 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 24 of 32




requirement that a witness be present when voter signs his absentee ballot); League of Women

Voters v. Va. State Bd. of Elec., No. 6:20-cv-00024, 2020 WL 2158249, at *8 (W.D. Va. May 5,

2020) (in approval of consent decree enjoining a witness signature requirement, noting that

“[t]he Constitution does not permit a state to force” its electorate to choose “between adhering to

guidance that is meant to protect not only their own health, but the health of those around them,

and undertaking their fundamental right– and, indeed, their civic duty– to vote in an election[]”).

            In Andino and League of Women Voters, courts determined that requiring voters to

expose themselves to the potential risk of contracting COVID-19 in order to secure a signature

on an absentee ballot created a constitutionally unacceptable burden. In particular, the courts in

Andino and League of Women Voters focused on the fact that the requirement operated in direct

contravention of the advice of medical experts and government officials. These cases are

particularly apt here, as they involve voting requirements that force voters to put themselves in

close proximity to others, just as Texas’s current policies and procedures will require of in-

person voters. Moreover, the threat presented to voters by having to be in the presence of a

witness long enough to secure a signature pale in comparison to the risk of harm that Texan in-

person voters will face.

            Under Texas’s current System, Texan in-person voters have no alternative but to subject

themselves to the risk of COVID-19 exposure. As in Andino and League of Women Voters, this

illusory choice between civic duty and personal and communal health is a severe burden.


                          b.      The State Has No Interest Justifying These Burdens

            Texas has no interest in failing to account and make accommodations for the safety of its

citizens during this pandemic, when feasible and safe voting options exist, and can be readily

implemented before the November election. Texas certainly has an interest in maintaining “a




                                                  - 20 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 25 of 32




high level of access to the ballot box,” but also has an interest in protecting the “safety of voters

and poll workers,” which counsels in favor of taking steps to mitigate the risks created by

COVID-19. Paher v. Cegavske, No. 3:20-cv-00243-MMD-WGC, 2020 WL 2089813, at *2, *7

(D. Nev. Apr. 30, 2020) (finding Nevada’s asserted interests sufficiently weighty to justify all-

mail-in-ballot scheme during pandemic).

            Although courts have repeatedly recognized states’ interests in promoting organized and

well-administered elections, see, e.g., Crawford, 553 U.S. at 196 (recognizing interest in “orderly

administration” of elections); Burdick, 504 U.S. at 439 (approving Hawaii’s interest in avoiding

“unrestrained factionalism” in general election ) (citation omitted)); Norman, 502 U.S. at 290

(acknowledging Illinois’ interest in preventing “electoral confusion”), the states’ general

regulatory authority over elections does not authorize them to place significant burdens on voting

rights, particularly when a state can easily take steps to mitigate obviously-present risks. See

Crawford, 553 U.S. at 197-98 (finding that ability of voters to cast provisional ballot provided

“adequate remedy” for potential burdens of Voter ID Law); Republican Party of Arkansas v.

Faulkner Cnty., Ark., 49 F.3d 1289, 1294 (8th Cir. 1995) (recognizing in ballot-access cases that

“an alternative means of access must be provided absent a sufficiently strong state interest”); cf.

League of Women Voters of N.C., 769 F.3d 224 (refusing to enjoin North Carolina’s reduction in

early voting days because doing so would require North Carolina to begin early voting just days

after the order, which would cause North Carolina substantial hardship).

            Unlike the steps Indiana took in Crawford, Texas has not provided any adequate remedy

to the burdens voters will experience because of the State’s current voting policies. Furthermore,

the burdens here are serious, widespread, and constantly present for all Texans, while in




                                                 - 21 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 26 of 32




Crawford the potential burdens created by Indiana’s Voter ID law were found to be “neither so

serious nor so frequent” as to raise substantial concerns about the impact of the law.

            Additionally, unlike in League of Women Voters of N.C., the State of Texas has ample

time to take the necessary ameliorative steps by making paper ballots widely available, opening

more polling locations, expanding access to curbside voting, further expanding early voting, and

providing funding to county election commissions to ensure they have sufficient poll workers

and that these workers are outfitted with appropriate PPE. These steps are feasible, safe, and can

be readily implemented before the November election. Texas has no interest in failing to do so.

            Plaintiffs are likely to prevail on their First and Fourteenth Amendments claims.

                   2.      Texas’s Voting System Violates the Equal Protection Clause

            Under the Equal Protection clause, “a citizen has a constitutionally protected right to

participate in elections on an equal basis with other citizens in the jurisdiction.” Dunn v.

Blumstein, 405 U.S. 330, 336 (1972). “The right to vote is protected in more than the initial

allocation of the franchise. Equal protection applies as well to the manner of its exercise.” Bush

v. Gore, 531 U.S. 98, 104 (2000). “Having once granted the right to vote on equal terms, the

State may not, by later arbitrary and disparate treatment, value one person’s vote over that of

another.” Id. at 104-05. In reviewing such claims based on non-suspect classifications, courts

apply the same Anderson-Burdick balancing approach applied to Plaintiffs’ Due Process and

First Amendment claims. See Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 189-91

(2008). For the reasons described with respect to Plaintiffs’ Due Process and First Amendment,

Plaintiffs are also likely to succeed on the merits of their Equal Protection claim.

            Specifically, Plaintiffs allege that Texas’s current voting laws, policies, and procedures

fail to establish minimum standards for health and safety of voters, leaving local election

authorities without guidance or support and voters vulnerable to the luck of whether a county has


                                                   - 22 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 27 of 32




the personnel or resources for COVID-19 mitigation. Particularly in light of the ongoing

pandemic, Texas’s inadequate statewide policies violate the Equal Protection Clause by

effectively denying voters the fundamental right to vote based on the jurisdiction they happen to

reside in. Bush, 531 U.S. at 110; see also League of Women Voters of Ohio v. Brunner, 548 F.3d

463, 466, 477-78 (6th Cir. 2008) (holding allegations of a voting statewide system with “non-

uniform standards, processes, and rules” resulting in disproportionate impacts across

jurisdictions were sufficient to state an equal protection claim); Black v. McGuffage, 209 F.

Supp. 2d 889, 897-99 (N.D. Ill. 2002) (holding an equal protection claim may lie where state law

permitted local jurisdictions to select their own voting systems); Common Cause S. Christian

Leadership Conference of Greater Los Angeles v. Jones, 213 F. Supp. 2d 1106, 1109 (C.D. Cal.

2001) (holding plaintiffs stated claim under Fourteenth Amendment where they alleged the

secretary of state’s permission to counties to adopt their own voting procedures was

unreasonable and discriminatory).

            B.     Plaintiffs Are Likely to Suffer Irreparable Harm

            In the absence of a preliminary injunction, Plaintiffs—and voters across Texas—will be

subject to serious violations of their constitutional rights under the Fourteenth and First

Amendments. It is well settled law that loss of constitutional rights “constitutes irreparable injury

justifying the grant of a preliminary injunction.” Deerfield Medical Ctr. V. City of Deerfield

Beach, 661 F.2d 328, 338 (5th Cir. Unit B, 1981) (citing Elrod v. Burns, 427 U.S. 347, 373

(1976)); see also De Leon v. Perry, 975 F. Supp. 2d 632, 663 (W.D. Tex. 2014), aff’d sub nom.

De Leon v. Abbott, 791 F.3d 619 (5th Cir. 2015) (explaining that plaintiffs showed infringement

upon their rights under the Fourteenth Amendment, and noting that “[f]ederal courts at all levels

have recognized that violation of constitutional rights constitutes irreparable harm as a matter of

law.”). Where the constitutional deprivations burden voters, the urgency is clear: “once the


                                                 - 23 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 28 of 32




election occurs, there can be no do-over and no redress. The injury to these voters is real and

completely irreparable if nothing is done to enjoin this law.” League of Women Voters of N.

Carolina, 769 F.3d at 247-48.

            As described above, Texas voters will face irreparable harm during the November 2020

general election in the absence of a preliminary injunction.

            The current conditions for voting in Texas create serious, unacceptable, and unnecessary

risk of virus transmission during the pandemic. People who are at high risk of serious COVID-19

illness, who live with high-risk people, who cannot afford the financial repercussions of losing

weeks of work due to illness, and who do not have health care are all at substantially greater risk

for long-term, debilitating consequences if they get sick while voting. This includes Black,

Indigenous, and Latino voters, who are disproportionately affected by the pandemic, and who are

at greater risk for getting serious COVID-19 illness, including hospitalization and death. These

voters will be subject to the unconstitutional burden of having to risk their health and lives in

order to vote.

            Plaintiffs are also subject to a deprivation of their right to equal protection under the law.

Voters in counties able to maintain safe voting practices—including counties that have hand-

marked paper ballots and enough voting locations to avoid lines—will have substantially fewer

burdens upon their constitutional rights than voters in counties that do not, or do not have the

resources or permission from the Defendants, to maintain safe voting practices. But a voter’s

address should not dictate whether voting carries a serious risk to life and health.

            Voters who vote and get COVID-19 as a result, or voters who must stay home in order to

remain healthy, will not get a “do-over” after the pandemic. See League of Women Voters, 769




                                                    - 24 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 29 of 32




F.3d at 247-48. A preliminary injunction is necessary for ensuring that plaintiffs are not deprived

of their constitutional rights, and are able to vote safely during the November 2020 elections.

            C.     Protecting Voting Rights Serves the Public Interest and Will Cause No Harm

            Finally, an injunction will serve the public interest, and the threatened burden on voting

rights outweighs any harm that will result from a preliminary injunction. See, e.g., Dunn, 405

U.S. at 336 (right to vote is of particular public importance because it is “preservative of all

rights”); Jackson Women’s Health Org., 760 F.3d at 458 n. 9 (affirming preliminary injunction

that would prevent constitutional deprivations); Deerfield Med. Ctr., 661 F.2d at 338-39 (public

interest is always served by protecting constitutional rights); Rush v. Nat’l Bd. of Med.

Examiners, 268 F. Supp. 2d 673, 679 (N.D. Tex. 2003) (public interest served by preventing

discrimination); Whole Woman’s Health v. Hellerstedt, 231 F. Supp. 3d 218, 232-33 (W.D. Tex.

2017) (balance of harms favors plaintiffs where constitutional rights are at stake). With COVID-

19, the stakes could not be higher to ensure health and safety during voting. The equities

overwhelmingly favor Plaintiffs.

V.          CONCLUSION

            For the reasons set forth above, Plaintiffs respectfully request that the Court grant their

Motion.




                                                    - 25 -
2035363.1
            Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 30 of 32




Dated: August 26, 2020                       Respectfully submitted,

                                             /s/ Kelly M. Dermody

                                             Kelly M. Dermody (pro hac vice)
                                             Yaman Salahi (pro hac vice)
                                             Mike Sheen (pro hac vice)
                                             Evan Ballan (pro hac vice)
                                             LIEFF CABRASER HEIMANN &
                                             BERNSTEIN, LLP
                                             275 Battery Street, 29th Floor
                                             San Francisco, CA 94111-3339
                                             Telephone: (415) 956-1000
                                             Facsimile: (415) 956-1008
                                             kdermody@lchb.com
                                             ysalahi@lchb.com
                                             msheen@lchb.com
                                             eballan@lchb.com

                                             Avery S. Halfon (pro hac vice)
                                             LIEFF CABRASER HEIMANN &
                                             BERNSTEIN LLP
                                             250 Hudson Street, 8th Floor
                                             New York, NY 10013
                                             Telephone: (212) 355-9500
                                             Facsimile: (212) 355-9592
                                             ahalfon@lchb.com

                                             Madeline Gomez (pro hac vice)
                                             LIEFF CABRASER HEIMANN &
                                             BERNSTEIN, LLP
                                             222 2nd Avenue South, Suite 1640
                                             Nashville, TN 37201
                                             Telephone: (615) 313-9000
                                             Facsimile: (615) 313-9965
                                             mgomez@lchb.com




                                         - 26 -
2035363.1
            Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 31 of 32




                                             Sean Lyons, State Bar No. 00792280
                                             Clem Lyons, State Bar No.12742000
                                             LYONS & LYONS, P.C.
                                             237 W. Travis Street, Suite 100
                                             San Antonio, Texas 78205
                                             Telephone: (210) 225-5251
                                             Telefax: (210) 225-6545
                                             sean@lyonsandlyons.com
                                             clem@lyonsandlyons.com

                                             Courtney Hostetler (pro hac vice)
                                             John Bonifaz (pro hac vice)
                                             Ben Clements (pro hac vice)
                                             Ronald Fein (pro hac vice)
                                             FREE SPEECH FOR PEOPLE
                                             1320 Centre Street, Suite 405
                                             Newton, MA 02459
                                             Telephone: (617) 249-3015
                                             chostetler@freespeechforpeople.org
                                             jbonifaz@freespeechforpeople.org
                                             bclements@freespeechforpeople.org
                                             rfein@freespeechforpeople.org

                                             Counsel for Plaintiffs




                                         - 27 -
2035363.1
             Case 5:20-cv-00830-JKP Document 29 Filed 08/26/20 Page 32 of 32




                                     CERTIFICATE OF SERVICE

            I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on August 26, 2020, and that all counsel of record were served by CM/ECF.



                                                     /s/ Kelly M. Dermody
                                                     Kelly M. Dermody




                                                   - 28 -
2035363.1
